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                    IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION
ALYSSA DE LOS SANTOS,                                )
Plaintiff,                                           )
                                                     ) No. 18-cv-00427
v.                                                   )
                                                     )
CITY OF CHICAGO, CHICAGO POLICE OFFICERS             )
E. JIMENEZ (Star #17702), M. RENTERIA (Star #19146), )
SALGADO (Star #17447), T.M. PANEK (#5455)            )
                                                     )
Defendants.                                          )

                                      CIVIL COMPLAINT

       NOW COMES Plaintiff, Alyssa De Los Santos, by and through her attorneys Abby Bakos,

Brendan Shiller and Mary Grieb of the Shiller Preyar Law Offices, complaining of the Defendants

and in support thereof state as follows:

                                           INTRODUCTION
 1.     This action is brought pursuant to 42 U.S.C. §1983 and Illinois state law to address

        deprivations of Plaintiff’s rights under the Constitution of the United States and torts

        committed against Plaintiff under Illinois state law.


                                            JURISDICTION
 2.     The jurisdiction of the Court is invoked pursuant to the Civil Rights Act, 42 U.S.C. §§

        1983; the Judicial Code, 28 U.S.C. §§1331 and 1343(a); the Constitution of the United

        States; and pendent jurisdiction as provided under 28 U.S.C. § 1367(a).


                                               VENUE
 3.     Venue is proper under 28 U.S.C. Section 1391(b). The events described herein all

        occurred in the Northern District of Illinois.


                                            THE PARTIES


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4.     Plaintiff Alyssa De Los Santos is a United States citizen who resides in the Northern

       District of Illinois.

5.     Defendant Chicago Police Officers Jimenez, Salgado, Renteria, and Panek (hereinafter

       “Defendant Officers”) are present or former employees of the City of Chicago Police

       Department. Defendant Officers engaged in the conduct complained of while on duty

       and in the course and scope of their employment and under the color of law. Defendant

       Officers are sued in their individual capacities.

6.     Defendant City of Chicago is a municipal corporation duly incorporated under the laws

       of the State of Illinois. The City of Chicago was the public employer of Defendant Officers

       at the time of the conduct complained of in the complaint. At all relevant times thereto,

       Defendant Officers were acting under the color of law and within the scope of their

       employment with Defendant City of Chicago.


                                        BACKGROUND

7.     On April 14, 2016, Plaintiff was riding as a passenger in her car with her sister, Vanessa

       De Los Santos, and her boyfriend, Rico Mendoza, travelling southbound on Western

       Avenue in Chicago, Illinois.

8.     Rico Mendoza was driving the vehicle.

9.     As they waited at the intersection of Blue Island Avenue and Western Avenue, a Hummer

       crashed into the rear of their vehicle and pushed them into a third car, a Ford Explorer.

10.    Shortly thereafter Defendant Officers arrived on-scene.

11.    When Defendant Officers arrived on-scene, Plaintiff and her sister were standing outside

       of the vehicle.




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12.    Plaintiff, distraught from the accident, immediately informed the officers that the vehicle

       she was riding as a passenger in, was deliberately pushed into the Explorer by the

       Hummer.

13.    Defendant Officers ignored Plaintiff’s account of the incident.

14.    Plaintiff also repeatedly informed Defendant Officers that she was not driving at the time

       of the incident.

15.    While on-scene, the driver of the Ford Explorer, Reyna Perez, confirmed to Defendant

       Officers Plaintiff’s account of the incident and that Plaintiff was not driving any vehicle.

16.    Without probable cause, and despite both Plaintiff and all witnesses’ statements,

       Defendant Officers arrested Plaintiff for DUI.

17.    Defendant Officers also cited Plaintiff, without probable cause, for Reckless Driving,

       Operating an Uninsured Vehicle, Failure to Reduce Speed to Avoid an Accident,

       Negligent Driving, and Failure to Produce a Driver’s License.

18.    Plaintiff’s person was unlawfully searched during her arrest.

19.    Ms. Perez was subpoenaed to appear as a witness in Plaintiff’s criminal case.

20.    Ms. Perez appeared and informed the State’s Attorney that Plaintiff was not driving the

       vehicle involved in the accident.

21.    Ms. Perez further informed the State’s Attorney that she did not tell any police officers

       that Plaintiff was driving the vehicle involved in the accident.

22.    As a result, the State’s Attorney dismissed all charges against Plaintiff in a manner

       indicative of Plaintiff’s innocence on or about September 1, 2017.


                                           CLAIM I
                                42 U.S.C. § 1983 – False Arrest
                                Against All Defendant Officers


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  23. Plaintiff re-alleges and incorporates all of the allegations in the preceding paragraphs.

  24. Defendant Officers arrested Plaintiff without probable cause.

  25. As a result of the illegal seizure, Plaintiff was injured, including loss of liberty, court

      costs, attorneys’ fees, emotional damages, trauma, humiliation, mental distress, and

      anguish.

  26. The actions of Defendant Officers were objectively unreasonable and were undertaken

      intentionally with malice, willfulness, and reckless indifference to Plaintiff’s rights.

       WHEREFORE, as a result of Defendant Officers’ unconstitutional actions, Plaintiff

requests compensatory damages, punitive damages, cost and attorneys’ fees and additional relief

that this Court deems equitable and just.

                                            CLAIM II
                                42 U.S.C. § 1983- Unlawful Search
                                  Against All Defendant Officers
  27. Plaintiff re-alleges and incorporates all of the allegations in the preceding paragraphs.

  28. Defendant Officers searched Plaintiff’s person on the date of the incident.

  29. Defendant Officers did not have a warrant, consent, probable cause or any other legal

      justification permitting them to search Plaintiff’s person.

  30. By searching Plaintiff’s person without a warrant, consent, probable cause or any other

      legal justification, Defendant Officers’ conduct constituted deliberate indifference to

      Plaintiff’s rights, in violation of the protections afforded by the Fourth and Fourteenth

      Amendment to the United States Constitution.

  31. As a result of the search, Plaintiff was injured, including, emotional damages, trauma,

      humiliation, and mental distress.

  32. Defendant Officers’ conduct was willful, wanton, and undertaken with reckless indifference

      to Plaintiff’s rights.

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      WHEREFORE, as a result of Defendant Officers’ unconstitutional actions, Plaintiff

requests compensatory damages, punitive damages, cost and attorneys’ fees and additional relief

that this Court deems equitable and just.

                                            CLAIM III
                             42 U.S.C. § 1983 - Failure to Intervene
                                   Against Defendant Officers
  33. Plaintiff re-alleges and incorporates all of the allegations in the preceding paragraphs.

  34. Defendant Officers had a reasonable opportunity to prevent each other from depriving

      Plaintiff of her right to be free from false arrest and an illegal search, but failed to do so.

  35. As a result of Defendant Officers failure to intervene, Plaintiff was injured including, but

      not limited to, emotional distress and loss of liberty.

  36. This misconduct was objectively unreasonable and was undertaken intentionally with

      malice, willfulness, and reckless indifference to Plaintiff’s rights.

      WHEREFORE, as a result of Defendant Officers’ unconstitutional actions, Plaintiff

requests compensatory damages, punitive damages, cost and attorneys’ fees and additional relief

that this Court deems equitable and just.


                                           CLAIM III
                                   42 U.S.C. § 1983- Conspiracy
                                    Against Defendant Officers
  37. Plaintiff re-alleges and incorporates all of the allegations in the preceding paragraphs.

  38. Defendant Officers, acting under the color of law and within the scope of their

      employment, entered into an agreement amongst themselves to deprive Plaintiff of her

      constitutional rights.

  39. Beginning on the date of Plaintiff’s arrest through and including today’s date, Defendant

      Officers expressly or impliedly formed an agreement to fabricate, conceal or destroy

      material evidence and withhold knowledge about the fact that Plaintiff was not driving the

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      vehicle during the car accident as described above, and that the officers were informed by

      Plaintiff, her sister, and the driver of the Explorer, Ms. Perez, that Plaintiff was not driving

      at the time of the incident.

  40. Defendant Officers agreed to and in fact fabricated witness statements, including that of

      Ms. Perez, in their reports that were material to Plaintiff’s prosecution and material to the

      determination of probable cause.

  41. In furtherance of the conspiracy, each of the co-conspirators committed overt acts and was

      an otherwise willful participant in joint activity.

  42. Defendant Officers’ actions were undertaken with malice, willfulness, and reckless

      indifference to the rights of others.

  43. As a direct and proximate result of this misconduct, Plaintiff suffered damages including,

      but not limited to, emotional distress, and loss of liberty.


      WHEREFORE, as a result of Defendant Officers’ unconstitutional actions, Plaintiff

requests compensatory damages, punitive damages, cost and attorneys’ fees and additional relief

that this Court deems equitable and just.

                                           CLAIM V
                               State Claim- Malicious Prosecution
                               Against Defendant City of Chicago
  44. Plaintiff re-alleges and incorporates all of the allegations in the preceding paragraphs.

  45. Defendant Officers maliciously caused criminal charges for DUI, Reckless Driving,

      Negligent Driving, Failure to Reduce Speed, Failure to Produce a Driver’s License or

      Operating a Vehicle Without Insurance to be commenced and continued against Plaintiff by

      creating false and incomplete police reports, swearing to false criminal charges.




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  46. There was no probable cause for the institution of criminal charges for DUI, Reckless

      Driving, Negligent Driving, Failure to Reduce Speed, Failure to Produce a Driver’s License

      or Operating a Vehicle Without Insurance against Plaintiff.

  47. Plaintiff was injured, including emotional and physical damages, legal fees, trauma,

      humiliation, loss of liberty, mental distress, and anguish.

  48. Defendants’ conduct was willful and wanton.

  49. The misconduct was undertaken by Defendant Officers within the scope of their

      employment and under the color of law such that their employer, the City of Chicago, is

      liable for those actions.

       WHEREFORE, as a result of Defendant Officers’ unconstitutional actions, Plaintiff

requests compensatory damages, punitive damages, cost and attorneys’ fees and additional relief

that this Court deems equitable and just from Defendant City of Chicago.

                                       CLAIM VI
                 State Claim- Conspiracy to Commit Malicious Prosecution
                            Against Defendant City of Chicago
  50. Plaintiff re-alleges and incorporates all previous paragraphs.

  51. On or about April 14, 2016, through and including the date of filing of this lawsuit,

      Defendant Officers agreed and combined to conspire to maliciously prosecute Plaintiff.

  52. Defendant Officers each and every one of them, agreed and/or combined to engage in a

      civil conspiracy to commit the unlawful acts as described in this Complaint.

  53. The Defendant Officers, each and every one of them, combined to engage in a civil

      conspiracy of which the principal element was to inflict wrongs against and/or injury by

      maliciously prosecuting he Plaintiff as described in this Complaint.




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  54. The Defendant Officers, each and every one of them, combined to engage in a civil

      conspiracy that was furthered by overt acts, including but not limited to, swearing out

      false reports and giving false statements under oath.

  55. The Defendant Officers, each and every one of them, understood, accepted and/or

      explicitly and/or implicitly agreed to the general objectives of their scheme to inflict the

      wrongs and injuries on the Plaintiffs as described in the Complaint.

  56. The Defendant Officers each and every one of them, combined to engage in a scheme

      which was intended to violate the rights of the Plaintiff.

  57. All of the misconduct described in this Complaint was undertaken within the scope of

      Defendant Officers’ employment, such that Defendant City of Chicago is liable for the

      torts of its agents.


      WHEREFORE, Plaintiff demands judgment against Defendant City of Chicago for

compensatory damages, punitive damages, costs and such other additional relief that this Court

deems equitable and just.


                                        CLAIM VII
                             Indemnity Claim – 745 ILCS 10/9-102
                                 Against the City of Chicago
  58. Plaintiffs re-allege and incorporate all of the allegations in the preceding paragraphs.

  59. Defendant City of Chicago is the employer of Defendant Officers.

  60. Defendant Officers committed the acts alleged above under color of law and in the scope

      of their employment as an employee of the City of Chicago.

  61. In Illinois, public entities are directed to pay for any tort judgment for compensatory

      damages for which employees are liable within the scope of their employment activities.

      745 ILCS 10/9-102.

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   62. As a proximate cause of Defendant Officers’ unlawful acts, which occurred within the

        scope of their employment activities, Plaintiff suffered emotional injuries.


        WHEREFORE, Plaintiff demands judgment against Defendant City of Chicago for

compensatory damages, costs and such other additional relief that this Court deems equitable and

just.


                                               PLAINTIFF DEMANDS TRIAL BY JURY.

                                               Respectfully submitted,

                                               ALYSSA DE LOS SANTOS

                                               By one of HER attorneys:
                                               /s/ Abby D. Bakos
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